  Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 1 of 61 PageID #: 1



MSM
F.#2015R01466

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 IN THE MATTER OF THE SEARCH OF (1)
 THE BLACK LG MODEL LS450 CELL
 PHONE, WHICH IS LISTED ON NEW
 YORK CITY POLICE DEPARTMENT
 PROPERTY CLERK INVOICE NUMBER                   APPLICATION FOR A SEARCH
 3000820645, AND (2) THE BLACK AND               WARRANT FOR ELECTRONIC DEVICES
 GRAY ZTE CELLULAR TELEPHONE
 LISTED AS ITEM 1B1 IN FBI CASE                  Case No. 19-MJ-606
 281D-NY-2144181, CURRENTLY IN THE
 CUSTODY OF THE FBI WITHIN THE
 EASTERN DISTRICT OF NEW YORK



                           AFFIDAVIT IN SUPPORT OF AN
                         APPLICATION UNDER RULE 41 FOR A
                          WARRANT TO SEARCH AND SEIZE


       I, GREGORY KIES, being first duly sworn, hereby depose and state as follows:


                     INTRODUCTION AND AGENT BACKGROUND


       1.     I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant authorizing the examination of property—two

electronic devices—that are currently in law enforcement possession, and the extraction from

that property of electronically stored information described in Attachments B-1 and B-2.

       2.     I have been a Special Agent with the Federal Bureau of Investigation (“FBI”)

for more than seventeen years and am currently assigned to the Long Island Resident

Agency, where I am responsible for conducting and assisting in investigations into the

activities of individuals and criminal groups responsible for narcotics trafficking, gang
  Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 2 of 61 PageID #: 2



activity and violent crimes, including robberies. These investigations are conducted both in

an undercover and overt capacity. I have participated in investigations involving search

warrants and arrest warrants. As a result of my training and experience, I am familiar with

the techniques and methods of operation used by individuals involved in criminal activity to

conceal their activities from detection by law enforcement authorities.

       3.     I am familiar with the facts and circumstances of the investigation from my

personal participation in the investigations as well as discussions with other law enforcement

agents, including New York City Police Department (“NYPD”) officers, and other law

enforcement agencies, discussions with witnesses, review of social media accounts and from

my review of records and reports relating to the investigation. Unless otherwise noted,

wherever in this Affidavit I assert that a statement was made, the information was provided

by another agent or law enforcement officer or witness who may have had either direct or

hearsay knowledge of that statement and to whom I or others have spoken or whose reports I

have read and reviewed. Such statements are among many statements made by others and

are stated in substance and in part unless otherwise indicated.

       4.     This affidavit is intended to show only that there is sufficient probable cause

for the requested warrant and does not set forth all of my knowledge about this matter.

               IDENTIFICATION OF THE DEVICES TO BE EXAMINED


       5.     The property to be searched is (1) the BLACK LG MODEL LS450 CELL

PHONE, WHICH IS LISTED ON NEW YORK CITY POLICE DEPARTMENT

PROPERTY CLERK INVOICE NUMBER 3000820645 (the “LG PHONE”); and (2) the

BLACK AND GRAY ZTE CELLULAR TELEPHONE LISTED AS ITEM 1B1 IN FBI
                                               2
  Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 3 of 61 PageID #: 3



CASE 281D-NY-2144181 (the “ZTE PHONE”). The LG PHONE and the ZTE PHONE are

collectively referred to herein as the “SUBJECT TELEPHONES.”

       6.      The LG PHONE was seized incident to the arrest of Sharod Liburd, Tysheen

Cooper and Gabriale Herbert on May 24, 2017 for a Hobbs Act robbery, in violation of Title 18,

United States Code, Section 1951.

       7.      The ZTE PHONE was seized from Michael Liburd’s bed at the time of his

April 6, 2017 arrest for violating Title 18, United States Code, Section 874 (kickbacks from

public works employees).

       8.      The SUBJECT TELEPHONES are currently located in the lawful custody of the

FBI within the Eastern District of New York.

       9.      The applied-for warrant would authorize the forensic examination of the

SUBJECT TELEPHONES, further described in Attachments A-1 and A-2, for the purpose of

identifying electronically stored data particularly described in Attachments B-1 and B-2.

                                     PROBABLE CAUSE


       10.     On January 11, 2018, the Honorable Ramon E. Reyes, Jr., United States

Magistrate Judge, Eastern District of New York issued a warrant authorizing the search of

the LG PHONE (the “January 11, 2018 LG PHONE Warrant”). (See 18 M 24.) The January

11, 2018 LG PHONE Warrant was based on the January 11, 2018 affidavit of FBI Special

Agent Gregory Kies (the “January 11, 2018 LG PHONE Affidavit”). The January 11, 2018

LG PHONE Warrant and the January 11, 2018 LG PHONE Affidavit are incorporated herein

by reference and attached as Appendix C.



                                                3
  Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 4 of 61 PageID #: 4



       11.     On September 25, 2017, the Honorable Peggy Kuo, United States Magistrate

Judge, Eastern District of New York issued a warrant authorizing the search of the ZTE

PHONE (the “September 25, 2017 ZTE PHONE Warrant”). (See 17 M 843.) The

September 25, 2017 ZTE PHONE Warrant was based on the September 25, 2017 affidavit of

FBI Special Agent Gregory Kies (the “September 25, 2017 ZTE PHONE Affidavit”). The

September 25, 2017 ZTE PHONE Warrant and the September 25, 2017 ZTE PHONE

Affidavit are incorporated herein by reference and attached as Appendix D.

       12.     Law enforcement officers timely executed the September 25, 2017 ZTE

PHONE Warrant and the January 11, 2018 LG PHONE Warrant. At the time the warrants

were executed, the software used to execute the search was unable to access the data on the

Devices because the Devices were locked. I am informed that the software in use today may

allow access to the Devices.

       13.     To date, no further examination of the phones has occurred. For the reasons

set forth in the January 11, 2018 LG PHONE Warrant and September 25, 2017 ZTE PHONE

Warrant, there is probable cause to believe that the SUBJECT TELEPHONES contain the

evidence described in Attachments B-1 and B-2.

       14.     In my training and experience, I know that the SUBJECT TELEPHONES have

been stored in a manner in which their contents are, to the extent material to this investigation, in

substantially the same state as they were when the SUBJECT TELEPHONES first came into the

possession of the FBI.




                                                  4
  Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 5 of 61 PageID #: 5



                                      TECHNICAL TERMS


       15.      Based on my training and experience, I use the following technical terms to

convey the following meanings:

             a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular

                telephone) is a handheld wireless device used for voice and data communication

                through radio signals. These telephones send signals through networks of

                transmitter/receivers, enabling communication with other wireless telephones or

                traditional “land line” telephones. A wireless telephone usually contains a “call

                log,” which records the telephone number, date, and time of calls made to and

                from the phone. In addition to enabling voice communications, wireless

                telephones offer a broad range of capabilities. These capabilities include: storing

                names and phone numbers in electronic “address books;” sending, receiving, and

                storing text messages and e-mail; taking, sending, receiving, and storing still

                photographs and moving video; storing and playing back audio files; storing

                dates, appointments, and other information on personal calendars; and accessing

                and downloading information from the Internet. Wireless telephones may also

                include global positioning system (“GPS”) technology for determining the

                location of the device.


             b. Digital camera: A digital camera is a camera that records pictures as digital

                picture files, rather than by using photographic film. Digital cameras use a

                variety of fixed and removable storage media to store their recorded images.

                Images can usually be retrieved by connecting the camera to a computer or by

                                                  5
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 6 of 61 PageID #: 6



         connecting the removable storage medium to a separate reader. Removable

         storage media include various types of flash memory cards or miniature hard

         drives. Most digital cameras also include a screen for viewing the stored images.

         This storage media can contain any digital data, including data unrelated to

         photographs or videos.


      c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a

         handheld digital storage device designed primarily to store and play audio, video,

         or photographic files. However, a portable media player can also store other

         digital data. Some portable media players can use removable storage media.

         Removable storage media include various types of flash memory cards or

         miniature hard drives. This removable storage media can also store any digital

         data. Depending on the model, a portable media player may have the ability to

         store very large amounts of electronic data and may offer additional features such

         as a calendar, contact list, clock, or games.


      d. GPS: A GPS navigation device uses the Global Positioning System to display its

         current location. It often contains records the locations where it has been. Some

         GPS navigation devices can give a user driving or walking directions to another

         location. These devices can contain records of the addresses or locations involved

         in such navigation. The Global Positioning System (generally abbreviated

         “GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite

         contains an extremely accurate clock. Each satellite repeatedly transmits by radio

         a mathematical representation of the current time, combined with a special

                                           6
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 7 of 61 PageID #: 7



         sequence of numbers. These signals are sent by radio, using specifications that

         are publicly available. A GPS antenna on Earth can receive those signals. When

         a GPS antenna receives signals from at least four satellites, a computer connected

         to that antenna can mathematically calculate the antenna’s latitude, longitude, and

         sometimes altitude with a high level of precision.


      e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used

         for storing data (such as names, addresses, appointments or notes) and utilizing

         computer programs. Some PDAs also function as wireless communication

         devices and are used to access the Internet and send and receive e-mail. PDAs

         usually include a memory card or other removable storage media for storing data

         and a keyboard and/or touch screen for entering data. Removable storage media

         include various types of flash memory cards or miniature hard drives. This

         removable storage media can store any digital data. Most PDAs run computer

         software, giving them many of the same capabilities as personal computers. For

         example, PDA users can work with word-processing documents, spreadsheets,

         and presentations. PDAs may also include global positioning system (“GPS”)

         technology for determining the location of the device.


      f. IP Address: An Internet Protocol address (or simply “IP address”) is a unique

         numeric address used by computers on the Internet. An IP address is a series of

         four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).

         Every computer attached to the Internet computer must be assigned an IP address

         so that Internet traffic sent from and directed to that computer may be directed

                                          7
  Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 8 of 61 PageID #: 8



                properly from its source to its destination. Most Internet service providers control

                a range of IP addresses. Some computers have static—that is, long-term—IP

                addresses, while other computers have dynamic—that is, frequently changed—IP

                addresses.


             g. Internet: The Internet is a global network of computers and other electronic

                devices that communicate with each other. Due to the structure of the Internet,

                connections between devices on the Internet often cross state and international

                borders, even when the devices communicating with each other are in the same

                state.

       16.      Based on my training, experience, and research, I know that the SUBJECT

TELEPHONES probably have capabilities that allow them to serve as a wireless telephone,

digital camera, portable media player, GPS navigation device, and PDA. In my training and

experience, examining data stored on devices of this type can uncover, among other things,

evidence that reveals or suggests who possessed or used the device.


                   ELECTRONIC STORAGE AND FORENSIC ANALYSIS


       17.      Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the device. This information can

sometimes be recovered with forensics tools.

       18.      Forensic evidence. As further described in Attachments B-1 and B-2, this

application seeks permission to locate not only electronically stored information that might serve

as direct evidence of the crimes described on the warrant, but also forensic evidence that
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  Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 9 of 61 PageID #: 9



establishes how each of the SUBJECT TELEPHONES was used, the purpose of its use, who

used it, and when. There is probable cause to believe that this forensic electronic evidence might

be on each of the SUBJECT TELEPHONES because:

           h. Data on the storage medium can provide evidence of a file that was once on the

               storage medium but has since been deleted or edited, or of a deleted portion of a

               file (such as a paragraph that has been deleted from a word processing file).


           i. Forensic evidence on a device can also indicate who has used or controlled the

               device. This “user attribution” evidence is analogous to the search for “indicia of

               occupancy” while executing a search warrant at a residence.


           j. A person with appropriate familiarity with how an electronic device works may,

               after examining this forensic evidence in its proper context, be able to draw

               conclusions about how electronic devices were used, the purpose of their use, who

               used them, and when.


           k. The process of identifying the exact electronically stored information on a storage

               medium that are necessary to draw an accurate conclusion is a dynamic process.

               Electronic evidence is not always data that can be merely reviewed by a review

               team and passed along to investigators. Whether data stored on a computer is

               evidence may depend on other information stored on the computer and the

               application of knowledge about how a computer behaves. Therefore, contextual

               information necessary to understand other evidence also falls within the scope of

               the warrant.



                                                9
 Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 10 of 61 PageID #: 10



             l. Further, in finding evidence of how a device was used, the purpose of its use, who

                used it, and when, sometimes it is necessary to establish that a particular thing is

                not present on a storage medium.


       19.      Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the devices

consistent with the warrant. The examination may require authorities to employ techniques,

including but not limited to computer-assisted scans of the entire medium, that might expose

many parts of the devices to human inspection in order to determine whether it is evidence

described by the warrant.

       20.      Manner of execution. Because this warrant seeks only permission to examine

devices already in law enforcement’s possession, the execution of this warrant does not involve

the physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night.




                                                 10
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 11 of 61 PageID #: 11




  S/ RAMON E> REYES
 Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 12 of 61 PageID #: 12



                                   ATTACHMENT A-1


       The property to be searched is the black LG model LS450 cell phone, which is listed

on New York City Police Department Property Clerk Invoice number 3000820645 (the “LG

PHONE”). The LG PHONE is currently in the custody of the FBI within the Eastern District

of New York.

       This warrant authorizes the forensic examination of the LG PHONE for the purpose

of identifying the electronically stored information described in Attachment B-1.
 Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 13 of 61 PageID #: 13




                                   ATTACHMENT A-2

       The property to be searched is the BLACK AND GRAY ZTE CELLULAR

TELEPHONE LISTED AS ITEM 1B1 IN FBI CASE 281D-NY-2144181 (the “ZTE

PHONE”). The ZTE PHONE is currently in the custody of the FBI within the Eastern

District of New York.

              This warrant authorizes the forensic examination of the ZTE PHONE for the

purpose of identifying the electronically stored information described in Attachment B-2.




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 Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 14 of 61 PageID #: 14



                                    ATTACHMENT B-1


        1.     All records on the LG PHONE described in Attachment A-1 that relate to
violations of Title 18, United States Code, Section 1959 (violent crimes in-aid-of
racketeering), Title 18, United States Code, Section 1962 (racketeering and racketeering
conspiracy), Title 18, United States Code, Section 1951(a) (Hobbs Act robbery and Hobbs
Act robbery conspiracy), Title 18, United States Code, Section 924 (possessing and
brandishing a firearm during a crime of violence), and involve TYSHEEN COOPER,
SHAROD LIBURD and GABRIALE HERBERT, including:
           a. evidence of gang association and communication with members and associates
              of the West End Enterprise; and
           b. evidence of a Hobbs Act robbery on or about May 24, 2017.
       2.      Evidence of user attribution showing who used or owned the LG PHONE at
the time the things described in this warrant were created, edited, or deleted, such as logs,
phonebooks, saved usernames and passwords, documents, and browsing history.
        As used above, the terms “records” and “information” include all of the foregoing
items of evidence in whatever form and by whatever means they may have been created or
stored, including any form of computer or electronic storage (such as flash memory or other
media that can store data) and any photographic form.
 Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 15 of 61 PageID #: 15



                                    ATTACHMENT B-2


        1.     All records on the ZTE PHONE described in Attachment A-2 that relate to
violations of Title 18, United States Code, Section 1959 (violent crimes in-aid-of
racketeering), Title 18, United States Code, Section 1962 (racketeering), Title 18, United
States Code, Section 874 (kickbacks from public works employees), Title 18, United States
Code, Section 371 (conspiracy), and involve MICHAEL LIBURD and others, including:
          a. evidence of gang association and communication with gang members;
          b. evidence of the murder of Antoine Flowers; and
          c. evidence of extorting, or agreeing to extort, kickbacks from public works
             employees.
       2.      Evidence of user attribution showing who used or owned the ZTE PHONE at
the time the things described in this warrant were created, edited, or deleted, such as logs,
phonebooks, saved usernames and passwords, documents, and browsing history.
        As used above, the terms “records” and “information” include all of the foregoing
items of evidence in whatever form and by whatever means they may have been created or
stored, including any form of computer or electronic storage (such as flash memory or other
media that can store data) and any photographic form.
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 16 of 61 PageID #: 16


                               APPENDIX C
    Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 17 of 61 PageID #: 17



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YLRODWLRQRI86& D DQGSRVVHVVLQJDQGEUDQGLVKLQJDILUHDUPGXULQJDFULPHRI

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FHOOXODUWHOHSKRQHVRPHWLPHVXVLQJPXOWLSOHFHOOXODUWHOHSKRQHVWRGRVR7KHLQYHVWLJDWLRQ

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KDYHXVHGQXPHURXVFHOOXODUWHOHSKRQHVLQIXUWKHUDQFHRIWKHLUFULPLQDODFWLYLWLHV,Q

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              FRPPXQLFDWLRQWKURXJKUDGLRVLJQDOV7KHVHWHOHSKRQHVVHQGVLJQDOVWKURXJK

              QHWZRUNVRIWUDQVPLWWHUUHFHLYHUVHQDEOLQJFRPPXQLFDWLRQZLWKRWKHUZLUHOHVV

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              FRQWDLQVD³FDOOORJ´ZKLFKUHFRUGVWKHWHOHSKRQHQXPEHUGDWHDQGWLPHRI

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              SRVLWLRQLQJV\VWHP ³*36´ WHFKQRORJ\IRUGHWHUPLQLQJWKHORFDWLRQRIWKH

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              YDULHW\RIIL[HGDQGUHPRYDEOHVWRUDJHPHGLDWRVWRUHWKHLUUHFRUGHGLPDJHV

              ,PDJHVFDQXVXDOO\EHUHWULHYHGE\FRQQHFWLQJWKHFDPHUDWRDFRPSXWHURUE\

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    Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 25 of 61 PageID #: 25



              LPDJHV7KLVVWRUDJHPHGLDFDQFRQWDLQDQ\GLJLWDOGDWDLQFOXGLQJGDWD

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              YLGHRRUSKRWRJUDSKLFILOHV+RZHYHUDSRUWDEOHPHGLDSOD\HUFDQDOVRVWRUH

              RWKHUGLJLWDOGDWD6RPHSRUWDEOHPHGLDSOD\HUVFDQXVHUHPRYDEOHVWRUDJH

              PHGLD5HPRYDEOHVWRUDJHPHGLDLQFOXGHYDULRXVW\SHVRIIODVKPHPRU\FDUGV

              RUPLQLDWXUHKDUGGULYHV7KLVUHPRYDEOHVWRUDJHPHGLDFDQDOVRVWRUHDQ\

              GLJLWDOGDWD'HSHQGLQJRQWKHPRGHODSRUWDEOHPHGLDSOD\HUPD\KDYHWKH

              DELOLW\WRVWRUHYHU\ODUJHDPRXQWVRIHOHFWURQLFGDWDDQGPD\RIIHUDGGLWLRQDO

              IHDWXUHVVXFKDVDFDOHQGDUFRQWDFWOLVWFORFNRUJDPHV


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              LWVFXUUHQWORFDWLRQ,WRIWHQFRQWDLQVUHFRUGVWKHORFDWLRQVZKHUHLWKDVEHHQ

              6RPH*36QDYLJDWLRQGHYLFHVFDQJLYHDXVHUGULYLQJRUZDONLQJGLUHFWLRQVWR

              DQRWKHUORFDWLRQ7KHVHGHYLFHVFDQFRQWDLQUHFRUGVRIWKHDGGUHVVHVRU

              ORFDWLRQVLQYROYHGLQVXFKQDYLJDWLRQ7KH*OREDO3RVLWLRQLQJ6\VWHP

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              WLPHFRPELQHGZLWKDVSHFLDOVHTXHQFHRIQXPEHUV7KHVHVLJQDOVDUHVHQWE\

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    Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 26 of 61 PageID #: 26



              FDQUHFHLYHWKRVHVLJQDOV:KHQD*36DQWHQQDUHFHLYHVVLJQDOVIURPDWOHDVW

              IRXUVDWHOOLWHVDFRPSXWHUFRQQHFWHGWRWKDWDQWHQQDFDQPDWKHPDWLFDOO\

              FDOFXODWHWKHDQWHQQD¶VODWLWXGHORQJLWXGHDQGVRPHWLPHVDOWLWXGHZLWKDKLJK

              OHYHORISUHFLVLRQ


           H 3'$$SHUVRQDOGLJLWDODVVLVWDQWRU3'$LVDKDQGKHOGHOHFWURQLFGHYLFH

              XVHGIRUVWRULQJGDWD VXFKDVQDPHVDGGUHVVHVDSSRLQWPHQWVRUQRWHV DQG

              XWLOL]LQJFRPSXWHUSURJUDPV6RPH3'$VDOVRIXQFWLRQDVZLUHOHVV

              FRPPXQLFDWLRQGHYLFHVDQGDUHXVHGWRDFFHVVWKH,QWHUQHWDQGVHQGDQG

              UHFHLYHHPDLO3'$VXVXDOO\LQFOXGHDPHPRU\FDUGRURWKHUUHPRYDEOH

              VWRUDJHPHGLDIRUVWRULQJGDWDDQGDNH\ERDUGDQGRUWRXFKVFUHHQIRUHQWHULQJ

              GDWD5HPRYDEOHVWRUDJHPHGLDLQFOXGHYDULRXVW\SHVRIIODVKPHPRU\FDUGV

              RUPLQLDWXUHKDUGGULYHV7KLVUHPRYDEOHVWRUDJHPHGLDFDQVWRUHDQ\GLJLWDO

              GDWD0RVW3'$VUXQFRPSXWHUVRIWZDUHJLYLQJWKHPPDQ\RIWKHVDPH

              FDSDELOLWLHVDVSHUVRQDOFRPSXWHUV)RUH[DPSOH3'$XVHUVFDQZRUNZLWK

              ZRUGSURFHVVLQJGRFXPHQWVVSUHDGVKHHWVDQGSUHVHQWDWLRQV3'$VPD\DOVR

              LQFOXGHJOREDOSRVLWLRQLQJV\VWHP ³*36´ WHFKQRORJ\IRUGHWHUPLQLQJWKH

              ORFDWLRQRIWKHGHYLFH


           I 7DEOHW$WDEOHWLVDPRELOHFRPSXWHUW\SLFDOO\ODUJHUWKDQDSKRQH\HW

              VPDOOHUWKDQDQRWHERRNWKDWLVSULPDULO\RSHUDWHGE\WRXFKLQJWKHVFUHHQ

              7DEOHWVIXQFWLRQDVZLUHOHVVFRPPXQLFDWLRQGHYLFHVDQGFDQEHXVHGWRDFFHVV

              WKH,QWHUQHWWKURXJKFHOOXODUQHWZRUNV³ZLIL´QHWZRUNVRURWKHUZLVH

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    Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 27 of 61 PageID #: 27



              7DEOHWVW\SLFDOO\FRQWDLQSURJUDPVFDOOHGDSSVZKLFKOLNHSURJUDPVRQD

              SHUVRQDOFRPSXWHUSHUIRUPGLIIHUHQWIXQFWLRQVDQGVDYHGDWDDVVRFLDWHGZLWK

              WKRVHIXQFWLRQV$SSVFDQIRUH[DPSOHSHUPLWDFFHVVLQJWKH:HEVHQGLQJ

              DQGUHFHLYLQJHPDLODQGSDUWLFLSDWLQJLQ,QWHUQHWVRFLDOQHWZRUNV


           J 3DJHU$SDJHULVDKDQGKHOGZLUHOHVVHOHFWURQLFGHYLFHXVHGWRFRQWDFWDQ

              LQGLYLGXDOWKURXJKDQDOHUWRUDQXPHULFRUWH[WPHVVDJHVHQWRYHUD

              WHOHFRPPXQLFDWLRQVQHWZRUN6RPHSDJHUVHQDEOHWKHXVHUWRVHQGDVZHOODV

              UHFHLYHWH[WPHVVDJHV


           K ,3$GGUHVV$Q,QWHUQHW3URWRFRODGGUHVV RUVLPSO\³,3DGGUHVV´ LVDXQLTXH

              QXPHULFDGGUHVVXVHGE\FRPSXWHUVRQWKH,QWHUQHW$Q,3DGGUHVVLVDVHULHV

              RIIRXUQXPEHUVHDFKLQWKHUDQJHVHSDUDWHGE\SHULRGV HJ

               (YHU\FRPSXWHUDWWDFKHGWRWKH,QWHUQHWFRPSXWHUPXVWEH

              DVVLJQHGDQ,3DGGUHVVVRWKDW,QWHUQHWWUDIILFVHQWIURPDQGGLUHFWHGWRWKDW

              FRPSXWHUPD\EHGLUHFWHGSURSHUO\IURPLWVVRXUFHWRLWVGHVWLQDWLRQ0RVW

              ,QWHUQHWVHUYLFHSURYLGHUVFRQWURODUDQJHRI,3DGGUHVVHV6RPHFRPSXWHUV

              KDYHVWDWLF²WKDWLVORQJWHUP²,3DGGUHVVHVZKLOHRWKHUFRPSXWHUVKDYH

              G\QDPLF²WKDWLVIUHTXHQWO\FKDQJHG²,3DGGUHVVHV


           L ,QWHUQHW7KH,QWHUQHWLVDJOREDOQHWZRUNRIFRPSXWHUVDQGRWKHUHOHFWURQLF

              GHYLFHVWKDWFRPPXQLFDWHZLWKHDFKRWKHU'XHWRWKHVWUXFWXUHRIWKH,QWHUQHW

              FRQQHFWLRQVEHWZHHQGHYLFHVRQWKH,QWHUQHWRIWHQFURVVVWDWHDQGLQWHUQDWLRQDO



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    Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 28 of 61 PageID #: 28



               ERUGHUVHYHQZKHQWKHGHYLFHVFRPPXQLFDWLQJZLWKHDFKRWKHUDUHLQWKH

               VDPHVWDWH


           %DVHGRQP\WUDLQLQJDQGH[SHULHQFH,NQRZWKDWWKH'HYLFHVSUREDEO\KDYH

FDSDELOLWLHVWKDWDOORZHDFKRIWKHPWRVHUYHDVDZLUHOHVVWHOHSKRQHGLJLWDOFDPHUDSRUWDEOH

PHGLDSOD\HU*36QDYLJDWLRQGHYLFHDQG3'$,QP\WUDLQLQJDQGH[SHULHQFHH[DPLQLQJ

GDWDVWRUHGRQGHYLFHVRIWKLVW\SHFDQXQFRYHUDPRQJRWKHUWKLQJVHYLGHQFHWKDWUHYHDOVRU

VXJJHVWVZKRSRVVHVVHGRUXVHGWKHGHYLFH


                (/(&7521,&6725$*($1')25(16,&$1$/<6,6


           %DVHGRQP\NQRZOHGJHWUDLQLQJDQGH[SHULHQFH,NQRZWKDWHOHFWURQLF

GHYLFHVFDQVWRUHLQIRUPDWLRQIRUORQJSHULRGVRIWLPH6LPLODUO\WKLQJVWKDWKDYHEHHQ

YLHZHGYLDWKH,QWHUQHWDUHW\SLFDOO\VWRUHGIRUVRPHSHULRGRIWLPHRQWKHGHYLFH7KLV

LQIRUPDWLRQFDQVRPHWLPHVEHUHFRYHUHGZLWKIRUHQVLFVWRROV


           Forensic evidence. $VIXUWKHUGHVFULEHGLQ$WWDFKPHQW%WKLVDSSOLFDWLRQ

VHHNVSHUPLVVLRQWRORFDWHQRWRQO\HOHFWURQLFDOO\VWRUHGLQIRUPDWLRQWKDWPLJKWVHUYHDV

GLUHFWHYLGHQFHRIWKHFULPHVGHVFULEHGRQWKHZDUUDQWEXWDOVRIRUHQVLFHYLGHQFHWKDW

HVWDEOLVKHVKRZWKH'HYLFHVZHUHXVHGWKHSXUSRVHRIWKHLUXVHZKRXVHGWKHPDQGZKHQ

7KHUHLVSUREDEOHFDXVHWREHOLHYHWKDWWKLVIRUHQVLFHOHFWURQLFHYLGHQFHPLJKWEHRQWKH

'HYLFHVEHFDXVH


           M 'DWDRQWKHVWRUDJHPHGLXPFDQSURYLGHHYLGHQFHRIDILOHWKDWZDVRQFHRQ

               WKHVWRUDJHPHGLXPEXWKDVVLQFHEHHQGHOHWHGRUHGLWHGRURIDGHOHWHG

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    Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 29 of 61 PageID #: 29



              SRUWLRQRIDILOH VXFKDVDSDUDJUDSKWKDWKDVEHHQGHOHWHGIURPDZRUG

              SURFHVVLQJILOH 


           N )RUHQVLFHYLGHQFHRQDGHYLFHFDQDOVRLQGLFDWHZKRKDVXVHGRUFRQWUROOHGWKH

              GHYLFH7KLV³XVHUDWWULEXWLRQ´HYLGHQFHLVDQDORJRXVWRWKHVHDUFKIRU³LQGLFLD

              RIRFFXSDQF\´ZKLOHH[HFXWLQJDVHDUFKZDUUDQWDWDUHVLGHQFH


           O $SHUVRQZLWKDSSURSULDWHIDPLOLDULW\ZLWKKRZDQHOHFWURQLFGHYLFHZRUNV

              PD\DIWHUH[DPLQLQJWKLVIRUHQVLFHYLGHQFHLQLWVSURSHUFRQWH[WEHDEOHWR

              GUDZFRQFOXVLRQVDERXWKRZHOHFWURQLFGHYLFHVZHUHXVHGWKHSXUSRVHRIWKHLU

              XVHZKRXVHGWKHPDQGZKHQ


           P 7KHSURFHVVRILGHQWLI\LQJWKHH[DFWHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRQD

              VWRUDJHPHGLXPWKDWDUHQHFHVVDU\WRGUDZDQDFFXUDWHFRQFOXVLRQLVD

              G\QDPLFSURFHVV(OHFWURQLFHYLGHQFHLVQRWDOZD\VGDWDWKDWFDQEHPHUHO\

              UHYLHZHGE\DUHYLHZWHDPDQGSDVVHGDORQJWRLQYHVWLJDWRUV:KHWKHUGDWD

              VWRUHGRQDFRPSXWHULVHYLGHQFHPD\GHSHQGRQRWKHULQIRUPDWLRQVWRUHGRQ

              WKHFRPSXWHUDQGWKHDSSOLFDWLRQRINQRZOHGJHDERXWKRZDFRPSXWHU

              EHKDYHV7KHUHIRUHFRQWH[WXDOLQIRUPDWLRQQHFHVVDU\WRXQGHUVWDQGRWKHU

              HYLGHQFHDOVRIDOOVZLWKLQWKHVFRSHRIWKHZDUUDQW


           Q )XUWKHULQILQGLQJHYLGHQFHRIKRZDGHYLFHZDVXVHGWKHSXUSRVHRILWVXVH

              ZKRXVHGLWDQGZKHQVRPHWLPHVLWLVQHFHVVDU\WRHVWDEOLVKWKDWDSDUWLFXODU

              WKLQJLVQRWSUHVHQWRQDVWRUDJHPHGLXP


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    Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 30 of 61 PageID #: 30



           Nature of examination. %DVHGRQWKHIRUHJRLQJDQGFRQVLVWHQWZLWK5XOH

 H  % WKHZDUUDQW,DPDSSO\LQJIRUZRXOGSHUPLWWKHH[DPLQDWLRQRIWKH'HYLFHV

FRQVLVWHQWZLWKWKHZDUUDQW7KHH[DPLQDWLRQPD\UHTXLUHDXWKRULWLHVWRHPSOR\WHFKQLTXHV

LQFOXGLQJEXWQRWOLPLWHGWRFRPSXWHUDVVLVWHGVFDQVRIWKHHQWLUHPHGLXPWKDWPLJKWH[SRVH

PDQ\SDUWVRIWKHGHYLFHWRKXPDQLQVSHFWLRQLQRUGHUWRGHWHUPLQHZKHWKHULWLVHYLGHQFH

GHVFULEHGE\WKHZDUUDQW


           Manner of execution. %HFDXVHWKLVZDUUDQWVHHNVRQO\SHUPLVVLRQWRH[DPLQH

GHYLFHVDOUHDG\LQODZHQIRUFHPHQW¶VSRVVHVVLRQWKHH[HFXWLRQRIWKLVZDUUDQWGRHVQRW

LQYROYHWKHSK\VLFDOLQWUXVLRQRQWRDSUHPLVHV&RQVHTXHQWO\,VXEPLWWKHUHLVUHDVRQDEOH

FDXVHIRUWKH&RXUWWRDXWKRUL]HH[HFXWLRQRIWKHZDUUDQWDWDQ\WLPHLQWKHGD\RUQLJKW


                                        &21&/86,21


           ,VXEPLWWKDWWKLVDIILGDYLWVXSSRUWVSUREDEOHFDXVHIRUDVHDUFKZDUUDQW

DXWKRUL]LQJWKHH[DPLQDWLRQRIWKH'HYLFHVGHVFULEHGLQ$WWDFKPHQW$WRVHHNWKHLWHPV

GHVFULEHGLQ$WWDFKPHQW%


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           ,WLVUHVSHFWIXOO\UHTXHVWHGWKDWWKLV&RXUWLVVXHDQRUGHUVHDOLQJXQWLOIXUWKHU

RUGHURIWKH&RXUWDOOSDSHUVVXEPLWWHGLQVXSSRUWRIWKLVDSSOLFDWLRQLQFOXGLQJWKH

DSSOLFDWLRQDQGVHDUFKZDUUDQW,EHOLHYHWKDWVHDOLQJWKLVGRFXPHQWLVQHFHVVDU\EHFDXVHWKH

ZDUUDQWLVUHOHYDQWWRDQRQJRLQJLQYHVWLJDWLRQLQWRWKHFULPLQDORUJDQL]DWLRQVDVQRWDOORI

WKHWDUJHWVRIWKLVLQYHVWLJDWLRQZLOOEHVHDUFKHGDWWKLVWLPH%DVHGXSRQP\WUDLQLQJDQG

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Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 31 of 61 PageID #: 31
 Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 32 of 61 PageID #: 32



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       7KHSURSHUW\WREHVHDUFKHGLV  WKHZKLWHPRGHO60*7FHOOSKRQH WKH

³:KLWH3KRQH´ DQG  WKHEODFN/*PRGHO/6FHOOSKRQH WKH³/*3KRQH´ DOORI

ZKLFKDUHOLVWHGRQ1HZ<RUN&LW\3ROLFH'HSDUWPHQW3URSHUW\&OHUN,QYRLFHQXPEHU

&ROOHFWLYHO\WKH:KLWH3KRQHDQGWKH/*3KRQHDUHUHIHUUHGWRKHUHLQDVWKH

³'HYLFHV´7KH'HYLFHVDUHFXUUHQWO\LQWKHFXVWRG\RIWKH)%,ZLWKLQWKH(DVWHUQ'LVWULFWRI

1HZ<RUN

       7KLVZDUUDQWDXWKRUL]HVWKHIRUHQVLFH[DPLQDWLRQRIWKH'HYLFHVIRUWKHSXUSRVHRI

LGHQWLI\LQJWKHHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQGHVFULEHGLQ$WWDFKPHQW%
    Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 33 of 61 PageID #: 33



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              $OOUHFRUGVRQWKH'HYLFHVGHVFULEHGLQ$WWDFKPHQW$WKDWUHODWHWRYLRODWLRQV

RI7LWOH8QLWHG6WDWHV&RGH6HFWLRQ YLROHQWFULPHVLQDLGRIUDFNHWHHULQJ 7LWOH

8QLWHG6WDWHV&RGH6HFWLRQ UDFNHWHHULQJDQGUDFNHWHHULQJFRQVSLUDF\ 7LWOH

8QLWHG6WDWHV&RGH6HFWLRQ D  +REEV$FWUREEHU\DQG+REEV$FWUREEHU\

FRQVSLUDF\ 7LWOH8QLWHG6WDWHV&RGH6HFWLRQ SRVVHVVLQJDQGEUDQGLVKLQJDILUHDUP

GXULQJDFULPHRIYLROHQFH DQGLQYROYH7<6+((1&223(56+$52'/,%85'DQG

*$%5,$/(+(5%(57LQFOXGLQJ


              D HYLGHQFHRIJDQJDVVRFLDWLRQDQGFRPPXQLFDWLRQZLWKPHPEHUVDQGDVVRFLDWHV

                 RIWKH:HVW(QG(QWHUSULVHDQG


              E HYLGHQFHRID+REEV$FWUREEHU\RQRUDERXW0D\


              (YLGHQFHRIXVHUDWWULEXWLRQVKRZLQJZKRXVHGRURZQHGWKH'HYLFHVDWWKH

WLPHWKHWKLQJVGHVFULEHGLQWKLVZDUUDQWZHUHFUHDWHGHGLWHGRUGHOHWHGVXFKDVORJV

SKRQHERRNVVDYHGXVHUQDPHVDQGSDVVZRUGVGRFXPHQWVDQGEURZVLQJKLVWRU\


       $VXVHGDERYHWKHWHUPV³UHFRUGV´DQG³LQIRUPDWLRQ´LQFOXGHDOORIWKHIRUHJRLQJ

LWHPVRIHYLGHQFHLQZKDWHYHUIRUPDQGE\ZKDWHYHUPHDQVWKH\PD\KDYHEHHQFUHDWHGRU

VWRUHGLQFOXGLQJDQ\IRUPRIFRPSXWHURUHOHFWURQLFVWRUDJH VXFKDVIODVKPHPRU\RURWKHU

PHGLDWKDWFDQVWRUHGDWD DQGDQ\SKRWRJUDSKLFIRUP
                Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 34 of 61 PageID #: 34
AO 93 (Rev. 1/13) Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
                                                                       for the
                                                           Eastern District
                                                         __________         of of
                                                                     District  New  York
                                                                                  __________

                  In the Matter of the Search of                         )
              (Briefly describe the property to be searched              )
               or identify the person by name and address)               )       Case No.   18 M 24
      (1) THE WHITE MODEL SM-G550T1 CELL PHONE; AND (2) THE BLACK LG     )
      MODEL LS450 CELL PHONE, BOTH OF WHICH ARE LISTED ON NEW YORK       )
          CITY POLICE DEPARTMENT PROPERTY CLERK INVOICE NUMBER
                                3000820645                               )

                                                 SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                          Eastern  District of           New York
(identify the person or describe the property to be searched and give its location):

      SEE ATTACHMENT A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
      SEE ATTACHMENT B.




         YOU ARE COMMANDED to execute this warrant on or before                   January 25, 2018      (not to exceed 14 days)
       u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                                u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                     the Duty Magistrate Judge               .
                                                                                               (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:             01/11/2018 4:35 pm
                                                                                                        Judge’s signature

City and state:             Brooklyn, New York                                   Hon. Ramon E. Reyes, Jr.               U.S.M.J.
                                                                                                      Printed name and title
                Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 35 of 61 PageID #: 35
AO 93 (Rev. 1/13) Search and Seizure Warrant (Page 2)

                                                                   Return
Case No.:                                Date and time warrant executed:        Copy of warrant and inventory left with:
   18 M 24
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                                Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                       Executing officer’s signature


                                                                                          Printed name and title
 Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 36 of 61 PageID #: 36



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       7KHSURSHUW\WREHVHDUFKHGLV  WKHZKLWHPRGHO60*7FHOOSKRQH WKH

³:KLWH3KRQH´ DQG  WKHEODFN/*PRGHO/6FHOOSKRQH WKH³/*3KRQH´ DOORI

ZKLFKDUHOLVWHGRQ1HZ<RUN&LW\3ROLFH'HSDUWPHQW3URSHUW\&OHUN,QYRLFHQXPEHU

&ROOHFWLYHO\WKH:KLWH3KRQHDQGWKH/*3KRQHDUHUHIHUUHGWRKHUHLQDVWKH

³'HYLFHV´7KH'HYLFHVDUHFXUUHQWO\LQWKHFXVWRG\RIWKH)%,ZLWKLQWKH(DVWHUQ'LVWULFWRI

1HZ<RUN

       7KLVZDUUDQWDXWKRUL]HVWKHIRUHQVLFH[DPLQDWLRQRIWKH'HYLFHVIRUWKHSXUSRVHRI

LGHQWLI\LQJWKHHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQGHVFULEHGLQ$WWDFKPHQW%
    Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 37 of 61 PageID #: 37



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              $OOUHFRUGVRQWKH'HYLFHVGHVFULEHGLQ$WWDFKPHQW$WKDWUHODWHWRYLRODWLRQV

RI7LWOH8QLWHG6WDWHV&RGH6HFWLRQ YLROHQWFULPHVLQDLGRIUDFNHWHHULQJ 7LWOH

8QLWHG6WDWHV&RGH6HFWLRQ UDFNHWHHULQJDQGUDFNHWHHULQJFRQVSLUDF\ 7LWOH

8QLWHG6WDWHV&RGH6HFWLRQ D  +REEV$FWUREEHU\DQG+REEV$FWUREEHU\

FRQVSLUDF\ 7LWOH8QLWHG6WDWHV&RGH6HFWLRQ SRVVHVVLQJDQGEUDQGLVKLQJDILUHDUP

GXULQJDFULPHRIYLROHQFH DQGLQYROYH7<6+((1&223(56+$52'/,%85'DQG

*$%5,$/(+(5%(57LQFOXGLQJ


              D HYLGHQFHRIJDQJDVVRFLDWLRQDQGFRPPXQLFDWLRQZLWKPHPEHUVDQGDVVRFLDWHV

                 RIWKH:HVW(QG(QWHUSULVHDQG


              E HYLGHQFHRID+REEV$FWUREEHU\RQRUDERXW0D\


              (YLGHQFHRIXVHUDWWULEXWLRQVKRZLQJZKRXVHGRURZQHGWKH'HYLFHVDWWKH

WLPHWKHWKLQJVGHVFULEHGLQWKLVZDUUDQWZHUHFUHDWHGHGLWHGRUGHOHWHGVXFKDVORJV

SKRQHERRNVVDYHGXVHUQDPHVDQGSDVVZRUGVGRFXPHQWVDQGEURZVLQJKLVWRU\


       $VXVHGDERYHWKHWHUPV³UHFRUGV´DQG³LQIRUPDWLRQ´LQFOXGHDOORIWKHIRUHJRLQJ

LWHPVRIHYLGHQFHLQZKDWHYHUIRUPDQGE\ZKDWHYHUPHDQVWKH\PD\KDYHEHHQFUHDWHGRU

VWRUHGLQFOXGLQJDQ\IRUPRIFRPSXWHURUHOHFWURQLFVWRUDJH VXFKDVIODVKPHPRU\RURWKHU

PHGLDWKDWFDQVWRUHGDWD DQGDQ\SKRWRJUDSKLFIRUP
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 38 of 61 PageID #: 38
                               APPENDIX D
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 39 of 61 PageID #: 39
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 40 of 61 PageID #: 40
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 41 of 61 PageID #: 41
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 42 of 61 PageID #: 42
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 43 of 61 PageID #: 43
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 44 of 61 PageID #: 44
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 45 of 61 PageID #: 45
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 46 of 61 PageID #: 46
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 47 of 61 PageID #: 47
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 48 of 61 PageID #: 48
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 49 of 61 PageID #: 49
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 50 of 61 PageID #: 50
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 51 of 61 PageID #: 51
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 52 of 61 PageID #: 52
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 53 of 61 PageID #: 53
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 54 of 61 PageID #: 54
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 55 of 61 PageID #: 55
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 56 of 61 PageID #: 56
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 57 of 61 PageID #: 57
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 58 of 61 PageID #: 58
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 59 of 61 PageID #: 59
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 60 of 61 PageID #: 60
Case 1:19-mj-00606-RER Document 1 Filed 07/02/19 Page 61 of 61 PageID #: 61
